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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Case No. 09 CR 830-8

Hon. Harry D. Leinenweber
ILYAS KASHMIRI, et al.,

(Tahawwur Hussain Rana)

Defendants.

 

ORDER

On March 14, 2011, the Court entered an order granting the
Government’s Request for an Anonymous Jury in the above-captioned
matter. Because of the need for anonymity of the jury panel in
this matter, the Court has decided that the jury shall be secluded
for all meals and breaks necessary while hearing evidence in this
matter.

IT IS THEREFORE ORDERED, that the Court shall furnish any and
all necessary meals to the jury panel during the duration of this

trial.

 

 

Harry D. Léeinenweber, Judge
United States District Court

DATE: May 12, 2011

 
